Case 2:19-cv-02850-DMG-JC Document 20 Filed 07/09/19 Page 1 of 2 Page ID #:57




 Kyle Vos Strache (SBN 251807)
 kyle@vos-ip.com
 VOS-IP, LLC
 1600 Market Street, Suite 2600
 Philadelphia, Pennsylvania 19103
 Tel.: 650.387.6311
 Fax: 215.735.1123

 Attorney for Defendant
 DMW DRESSES, LLC formerly known
 as PROMGIRL, LLC

                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

 TEXKHAN, INC., a California             Case No. 2:19-cv-02850-DMG-JC
 Corporation, individually and doing
 business as HYUP SUNG T.R.D.,           DEFENDANT DMW DRESS,
 Plaintiff,                              LLC, FORMERLY KNOWN AS
                                         PROMGIRL, LLC’S
 vs.                                     CORPORATE DISCLOSURE
                                         STATEMENT PURSUANT TO
 EN CREME, an unknown business           FED. R. CIV. P. 7.1
 entity; POSHMARK, INC., a Delaware
 Corporation, doing business as
 POSHMARK; PROMGIRL, LLC, a
 New York Limited Liability Company,
 doing business as THISGIRL; and
 DOES 1 through 50, Defendants.
     Case 2:19-cv-02850-DMG-JC Document 20 Filed 07/09/19 Page 2 of 2 Page ID #:58



1              DMW DRESSES, LLC FORMERLY KNOW AS PROMGIRL,
2     LLC’S CORPORATE DISCLOSURE STATEMENT PURSUANT TO FED.
                            R. CIV. P. 7.1
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4             Pursuant to Rule 7.1(a), Fed. R. Civ. P, Defendant DMW Dresses, LLC,
5    formerly known as PromGirl, LLC, hereby discloses that (1) it has no parent
6    company and (2) no publicly held corporation owns 10% or more of its stock.
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8                                           Respectfully submitted,
        Dated: July 9, 2019                 By: /s/ Kyle Vos Strache
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                                            Kyle Vos Strache (SBN 251807)
10
                                            kyle@vos-ip.com
11                                          VOS-IP, LLC
                                            1600 Market Street, Suite 2600
12
                                            Philadelphia, Pennsylvania 19103
13                                          Tel.: 650.387.6311
14
                                            Fax:

15                                          Attorney for Defendant
16                                          DMW Dresses, LLC formerly known as
                                            PromGirl, LLC
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     CORPORATE DISCLOSURE STATEMENT - 2
     4814-3783-8236, V. 2
